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                      IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF MONTANA
                              GREAT FALLS DIVISION


EMPLOYERS          MUTUAL        CASUALTY         )   CASE NO.: CV-23-33-BMM-JTJ
COMPANY,                                          )
                                                  )
             Plaintiff,                           )   ORDER
                                                  )
      v.                                          )
                                                  )
J & R ASSETS, RYAN FAST, JASON                    )
SAUER AND COOL INVESTMENTS, LLC.                  )
                                                  )
                                                  )
             Defendants.                          )

      Pursuant to the Stipulation for Dismissal with Prejudice entered between the parties,

and good cause appearing therefore;

      IT IS HEREBY ORDERED this matter is dismissed with prejudice and each party

shall bear their own costs and attorney’s fees.



      DATED this 17th day of October, 2023.
